Case 1:99-cr-10091-.]DT Document 36 Filed 06/06/05 Page 1 of 2 Page|D 31

IN THE UNITED S'I`ATES DIS'I‘RIC'I` COURT F?’-ED t';’,`s'._
FOR 'I'HE WESTERN DISTRIC'T OF TENNESSEE

----~-__._D.C.

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UNITED sTATEs or AMERICA wéi§§§:q§joj%*;§%§
vs. case NO. 1:99-10091-01-r
UNDREA DoUGLAs
oRDER To sURRENI)ER

Defendant, Undrea Douglas, #16946-076, having been sentenced in the above
styled matter to the custody of the Bureau of Prisons, and having been granted leave by
the Court report to the designated institution at his own expense, is hereby ordered to
surrender himself to the Bureau of Prisons by reporting to: Forrest City FCI, 1301 Dale
Bumpers Road, Forrest City, AR 72335; no later than 12:00 Noon on , June 30, 2005.

It is further ordered that upon receipt of a copy of this order, the defendant shall
sign and return the copy, to acknowledge receipt of said order and that he Will report as
directed to the above named institution

IT IS SO ORDERED.

 

 

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.rh Rule 55 and/or 32(b) FRCrP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case l:99-CR-1009l Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

